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                                          #44932



                        IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS


In re: PARAQUAT PRODUCTS
LIABILITY LITIGATION                                          Case No. 3:21-md-3004-NJR

This document relates to:                                     MDL No. 3004
Rush, Brenda, Individually and as
Personal Representative of the
Estate of Douglas Roark, Deceased

Cause No. 3:24-pq-02541


          OBJECTION TO REPORT AND RECOMMENDATION REGARDING
             OVERDUE PLAINTIFF ASSESSMENT QUESTIONNAIRES

       NOTICE IS HEREBY GIVEN that Brenda Rush, Individually and as Personal

Representative of the Estate of Douglas Roark, Deceased (“Plaintiffs”), by and through counsel,

hereby file this objection to Special Master’s Report and Recommendation Regarding Overdue

Assessment Questionnaires, which was filed on March 20, 2025 [Doc. 5571] (“March 20th

Report”), and asks the Court for leave not to be dismissed pursuant to the March 20th Report.

       Specifically, Plaintiffs object on the grounds that Plaintiff has now filed a Plaintiff

Assessment Questionnaire (“PAQ”). See Exhibit A. The March 20th Report is correct that

Plaintiff’s case was one included with a total of 117 cases for dismissal for failure to serve a

PAQ. While this is correct, Plaintiff’s counsel made repeated attempts to reach and communicate

with Plaintiff about this issue during the months leading up to the March 20th Report to confirm

the information needed to complete and file the PAQ. These efforts included multiple phone calls

and emails to Plaintiff that went unreturned. See Exhibit B. On March 10, 2025, Plaintiff’s

counsel sent Plaintiff a final letter via USPS informing Plaintiff that her matter would be closed if

she did not contact Plaintiff’s counsel immediately. See Exhibit C. On March 24, 2025, Plaintiff’s




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counsel was contacted by Plaintiff. During this phone call, Plaintiff’s counsel was able to confirm

the necessary information to complete the PAQ. Plaintiff filed the PAQ on March 25, 2025.

       Since Plaintiff’s counsel worked diligently to contact Plaintiff to obtain the PAQ-related

information and has now been able to file a completed PAQ, Plaintiff requests that her case not be

dismissed. Dismissing Plaintiff’s case will be a waste of judicial resources in that the dismissal

recommended is “without prejudice.” Plaintiff will file the case again now that contact has been

made and the information needed has been obtained. It would save this Court and the parties effort

and resources to remove Plaintiff’s case from the list of matters to be dismissed. Plaintiff

respectfully requests that Plaintiff be allowed to continue in her lawsuit.


DATED: March 28, 2025                                  Respectfully submitted,

                                                       NACHAWATI LAW GROUP, PLLC

                                                  By: /s/Gibbs C. Henderson
                                                      GIBBS C. HENDERSON
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                                                      Dallas, TX 75231
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                                                      Attorney for Plaintiffs



                                  CERTIFICATE OF SERVICE

       I, Gibbs C. Henderson, hereby certify that on March 28, 2025, the foregoing document was

served electronically and notice of service of this document will be sent to all parties by the Court’s

electronic filing system to CM/ECF participants registered to receive service in this matter. Parties

may access this filing through the Court’s system.

                                                        /s/Gibbs C. Henderson
                                                        Gibbs C. Henderson




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